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11
                                IN THE UNITED STATES DISTRICT COURT FOR THE
12                                         EASTERN DISTRICT OF CALIFORNIA

13
     UNITED STATES OF AMERICA                                          Case No. 2:20‐CR‐00005 KJM
14

15
                         Plaintiff,
16
                                                                     STIPULATION AND PROPOSED ORDER
17                                                                   ALLOWING POST RELEASE CONTACT
                vs.                                                  BETWEEN CODEFENDANTS FATUKALA AND
18                                                                   YAMAMOTO
19
     VILIAMI MOSESE FATUKALA, and
20

21
     QUYNHMY QUOC YAMAMOTO
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24
                         Defendants.
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     Stipulation and Proposed Order allowing post‐release contact between co‐defendants Fatukula and Yamamoto

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2           Co‐defendants VILIAMI MOSESE FATUKALA and QUYNHMY QUOC YAMAMOTO are
     currently on pretrial release and subject to conditions preventing them from having
3
     contact with one another.
4
            VILIAMI MOSESE FATUKALA and QUYNHMY QUOC YAMAMOTO hereby request
5    that that the current conditions of pretrial release be modified to allow them to have
     contact with each other due to a long‐term intimate relationship. The parties agree that
6
     such contact request is in the interests of justice and would not otherwise be inconsistent
7    with the remaining conditions of each defendants previously ordered conditions of release.
8           Counsel has consulted with Pretrial Services for the Eastern District of California,
9
     and the assigned Officers do not object to such modification.

10          It is hereby stipulated and agreed that the parties ask the Court enter the following
     Order modifying the conditions of pretrial supervision, as they apply to VILIAMI MOSESE
11   FATUKALA and QUYNHMY QUOC YAMAMOTO:
12              With regard to QUYNHMY QUOC YAMAMOTO:
13
                You must not associate or have any contact with your co‐defendants, with the
14              exception of Viliami Fatukala, unless in the presence of counsel or otherwise
                approved in advance by the pretrial services officer. You and Mr. Fatukala must not
15              discuss the pending federal case.

16              With regard to VILIAMI MOSESE FATUKALA:

17              You must not associate or have any contact with your co‐defendants, with the
                exception of Quynhmy Yamamoto, unless in the presence of counsel or otherwise
18              approved in advance by the pretrial services officer. You and Ms. Yamamoto must not
                discuss the pending federal case.
19

20

21   DATED: January 15, 2020                          /s/ ERIC H. HINTZ
                                                      ERIC H. HINTZ
22                                                    Attorney for Defendant Viliami Mosese Fatukala
23
     DATED: January 15, 2020                          /s/ MICHAEL LONG
24                                                    MICHAEL LONG
                                                      Attorney for Defendant Quynhmy Quoc Yamamoto
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     Stipulation and Proposed Order allowing post‐release contact between co‐defendants Fatukula and Yamamoto

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1    DATED: January 15, 2020                          McGregor W. Scott
                                                      United States Attorney
2
                                                      By: /s/ PAUL HEMESATH
3                                                     PAUL HEMESATH
                                                      Assistant United States Attorney
4

5                                                     [PROPOSED] ORDER

6               IT IS SO ORDERED.

7     Dated:       January 16, 2020
                                                                      The Honorable Edmund F. Brennan
8                                                                     UNITED STATES MAGISTRATE JUDGE

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     Stipulation and Proposed Order allowing post‐release contact between co‐defendants Fatukula and Yamamoto

     01/16/20
